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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 CATHY BUCH,
                               Plaintiff(s),

                        v.                                          23-CV-8854 (DEH)

 MARIA ASUNCION ARAMBURUZABALA                                            ORDER
 LARREGUI, et al.,
                               Defendant(s).



DALE E. HO, United States District Judge:

       On November 8, 2023, Defendants filed a motion to dismiss the Complaint. Under Rule
15(a)(1)(B), a plaintiff has twenty-one (21) days after the service of a motion under Rule 12(b) to
amend the Complaint once as a matter of course.

        Accordingly, it is hereby ORDERED that Plaintiff shall file any amended complaint by
December 1, 2023. Any amended complaint should be filed with a redline showing all
differences between the original and revised filing. Plaintiff will not be given any further
opportunity to amend the Complaint to address issues raised by the motion to dismiss.

         If Plaintiff does amend, by December 22, 2023, Defendants shall: (1) file an answer; (2)
file a new motion to dismiss; or (3) file a letter on ECF stating that they rely on the previously
filed motion to dismiss. If Defendants file an answer or a new motion to dismiss, the Court will
deny the previously filed motion to dismiss as moot. If Defendants file a new motion to dismiss
or indicates that they rely on their previously filed motion to dismiss, any opposition shall be
filed by January 12, 2024, and any reply shall be filed by January 19, 2024.

       If no amended complaint is filed, Plaintiff shall file any opposition to the motion to
dismiss by December 1, 2023. Defendants’ reply, if any, shall be filed by December 8, 2023.

       Finally, it is further ORDERED that the initial pretrial conference previously scheduled
for November 29, 2023, and the requirement to file a joint status letter in advance of the
conference is ADJOURNED, sine die.

       SO ORDERED.

Dated: November 9, 2023
       New York, New York

                                                                       DALE E. HO
                                                                United States District Judge
